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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Connections Community Support Programs, Inc.

2.   All other names debtor
     used in the last 8 years      Connections
     Include any assumed           CCSP
     names, trade names and        Addictions Coalition of Delaware Inc.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  3821 Lancaster Pike
                                  Wilmington, DE 19805
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  New Castle                                                     Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Connections Community Support Programs, Inc.                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6222

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Connections Community Support Programs, Inc.                                                    Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Connections Community Support Programs, Inc.                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 19, 2021
                                                  MM / DD / YYYY


                             X       /s/ Robert D. Katz                                                   Robert D. Katz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X      /s/ Mark L. Desgrosseilliers                                           Date April 19, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark L. Desgrosseilliers 4083
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0192                Email address      desgross@chipmanbrown.com

                                 4083 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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         ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD OF
            CONNECTIONS COMMUNITY SUPPORT PROGRAMS, INC.

                                           April 19, 2021

       In accordance with Section 141(f) of the General Corporation Law of the State of Delaware
and the Bylaws of Connections Community Support Programs, Inc. (the “Company”), a Delaware
non-profit corporation (the “Company”), the undersigned, constituting all of the members of the
Company’s Board of Directors (the “Board”), hereby take the following actions and adopt the
following resolutions by unanimous written consent (the “Written Consent”):

                                             RECITALS

     WHEREAS, the Board has considered the financial and operational conditions of the
Company; and

        WHEREAS, the Board has reviewed, considered and received the recommendation of
senior management of the Company and the advice of the Company’s professionals and advisors
with respect to the options available to the Company, including the possibility of pursuing a
restructuring or sale of the Company’s business and assets under title 11 of the United States Code
(the “Bankruptcy Code”); and

      WHEREAS, the Board, in consultation with the senior management of the Company and
the Company’s legal, financial, and other advisors, has determined that it is in the best interests of
the Company to explore a potential sale of its assets to one or more potential bidders (the “Sale”);
and

        WHEREAS, the Board has determined that taking the actions set forth below are advisable
and in the best interests of the Company and, therefore desires to approve the following resolutions:

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that after consideration of the
alternatives presented to it and the recommendations of senior management of the Company and
the advice of the Company’s professionals and advisors, the Board has determined in its business
judgment that it is in the best interest of the Company, its creditors, and other interested parties
that a voluntary petition be filed by the Company seeking relief under the provisions of the
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
“Petition”), and the filing of such Petition be, and it hereby is, authorized in all respects; and it is

       FURTHER RESOLVED, that the Company engage EisnerAmper, LLP, to provide
Robert D. Katz as the Chief Restructuring Officer (the “CRO”) of the Company, and such other
personnel as may be required by the Company; and it is

        FURTHER RESOLVED, that the CRO shall have such duties and responsibilities as set
forth in the Engagement Letter with EisnerAmper LLP, dated April 15, 2021 (the “CRO
Engagement Letter”), and will report to, and act under the direction, control, and guidance of the
Board, subject to removal and/or termination thereby in accordance with the CRO Engagement
Letter; and it is
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        FURTHER RESOLVED, the Company and management are hereby authorized and
directed to execute retention agreements, to pay retainers prior to, immediately upon, and after the
filing of the bankruptcy case, and to execute and cause to be filed an application for authority to
retain EisnerAmper LLP, and Robert D. Katz as the Company’s CRO; and it is

         FURTHER RESOLVED, that the CRO, and any other officer or person designated by
the CRO (collectively, the “Authorized Representatives”) hereby are appointed as authorized
signatories and representatives in connection with the bankruptcy proceeding authorized herein;
and it is

        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed, and empowered on behalf of the Company to execute and verify a
Petition in the name of the Company under the Bankruptcy Code and to cause the same to be filed,
in such form and at such time as the Authorized Representatives shall determine; and it is

        FURTHER RESOLVED, that the Authorized Representatives, and each of them, with
full authority to act without others, hereby is, authorized and directed to obtain postpetition
financing and/or use of cash collateral according to the terms negotiated and approved by the
Authorized Representatives, including under one or more debtor-in-possession credit facilities in
connection with the bankruptcy case of the Company (the “Chapter 11 Case”); and to enter into
any guarantees and to pledge and grant liens on the Company’s assets as contemplated by or
required under the terms of such postpetition financing; and, in connection therewith, the
Authorized Representatives are hereby authorized and directed to execute appropriate loan
agreements and related ancillary documents; and it is

        FURTHER RESOLVED, that the Authorized Representatives, and each of them, with
full authority to act without others, hereby is, authorized and directed to work with the Company’s
advisors to effectuate a sale of substantially all of the Company’s assets under section 363 of the
Bankruptcy Code; and to file all necessary motions and papers in the United States Bankruptcy
Court for the District of Delaware to obtain approval of a sale process, including customary
protections for any stalking horse bidder for the Company’s assets, according to the terms
negotiated and approved by the Authorized Representatives; and, in connection therewith, the
Authorized Representatives are hereby authorized and directed to execute appropriate agreements
and related ancillary documents; and it is

       FURTHER RESOLVED, that each Authorized Representative be, and hereby is,
authorized, directed, and empowered, either jointly or severally, for and on behalf of and in the
name of the Company, to negotiate, execute and deliver on behalf of the Company any agreements,
documents and instruments in connection with the sale process or as such Authorized
Representatives may deem necessary, advisable, or appropriate, such execution and delivery by
any such Authorized Representatives to be conclusive evidence of such authorization and
approval; and it is

        FURTHER RESOLVED, that each Authorized Representative be, and hereby is,
authorized, directed, and empowered, either jointly or severally, for and on behalf of and in the
name of the Company, to (i) file a motion (the “Bidding Procedures Motion”) with the bankruptcy
court to request, among other things, the bankruptcy court’s approval of (a) the Sale, (b) the
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commencement of a marketing and sale process in the Chapter 11 Cases for the Sale (the “Sale
Process”), and (c) the bidding procedures associated with the Sale Process, which are attached to
the Bidding Procedures Motion (such bidding procedures, in the form approved by the bankruptcy
court, the “Bidding Procedures”), including a request for approval of a break-up fee payable to any
stalking horse bidder on the terms set forth in a stalking horse agreement and (ii) commence and
implement the Sale Process; and it is

       FURTHER RESOLVED, that each Authorized Representative be, and hereby is,
authorized, directed, and empowered, either jointly or severally, for and on behalf of and in the
name of the Company, to take any and all other actions as they may deem necessary or advisable
to implement the Sale Process as contemplated by the Bidding Procedures; and it is

        FURTHER RESOLVED, that the Authorized Representatives, and each of them, with
full authority to act without others, hereby is, and any employees or agents (including counsel)
designated by or directed by such Authorized Representatives, be, and each hereby is, authorized
and empowered to cause the Company and such of its affiliates as the CRO deems appropriate to
enter into, to execute, deliver, certify, file, record, and perform such agreements, instruments,
motions, affidavits, applications for approvals or rulings of governmental or regulatory authorities,
certificates or other documents, and to take such other actions, as in the judgment of such
Authorized Representative shall be necessary, proper, and desirable to prosecute to a successful
completion the Chapter 11 Case, to effectuate the restructuring of the Company’s debt, other
obligations, and the organizational form and structure of the Company and its subsidiaries
consistent with the foregoing resolutions and to carry out and put into effect the purposes of the
foregoing resolutions, and the transactions contemplated by these resolutions, their authority
thereunto to be evidenced by the taking of such actions; and it is

         FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company, to
negotiate, execute, verify and file, or cause to be executed, verified, and filed (or direct others to
do so on their behalf, as provided herein) all necessary documents, including, without limitation,
all petitions, affidavits, schedules, motions, lists, applications, pleadings and other papers, and in
that connection to employ and retain all assistance by legal counsel, financial advisors, accountants
or other professionals and to take any and all action which such Authorized Representative deems
necessary and proper in connection with the bankruptcy case; and it is

         FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized and directed on behalf of and in the name of the Company to employ the law
firm of Chipman Brown Cicero & Cole, LLP (“CBCC”) as bankruptcy counsel to assist the
Company in filing for relief under chapter 11 of the Bankruptcy Code and in carrying out the
Company’s duties under chapter 11 of the Bankruptcy Code, and the Authorized Representatives
of the Company are hereby authorized and directed to execute retention agreements, pay retainers
prior to, immediately upon, and after the filing of the bankruptcy case, and to execute and cause
to be filed an application for authority to retain CBCC as the Company’s bankruptcy counsel; and
it is

       FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized and directed to retain and employ SSG Advisors, LLC (“SSG”), to act as the
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Company’s investment banker, and the officers of the Company are hereby authorized and directed
to execute retention agreements, pay retainers prior to, immediately upon, and after the filing of
the Chapter 11 Case, and to execute and cause to be filed an application for authority to retain SSG
as the Company’s investment banker; and it is

        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized and directed to retain Omni Agent Solutions (“Omni”) as claims and noticing
agent, and the officers of the Company are hereby authorized and directed to execute retention
agreements, pay retainers prior to, immediately upon and after the filing of the bankruptcy case,
and to execute and cause to be filed an application for authority to retain the services of Omni as
the Company’s claims and noticing agent; and it is

        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized and directed to retain and employ any other professionals or consultants to
the Company as are deemed necessary to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, and in connection therewith, the Authorized Representatives
are hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, if required, prior to and immediately upon the filing of the Petition, and to execute and
cause to be filed an application for authority to retain the services of such firms; and it is

        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed, and empowered for and in the name and on behalf of the Company
to amend, supplement, or otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements, or other writings referred to in the foregoing resolutions; and
it is

        FURTHER RESOLVED, that the Authorized Representatives are, and each of them
hereby is, authorized, directed, and empowered, in the name and on behalf of the Company to take
or cause to be taken any and all such further action and to execute and deliver or cause to be
executed or delivered, and when necessary or appropriate, file or cause to be filed with the
appropriate governmental authorities or otherwise, all such further agreements, documents,
reports, certificates, and undertakings and any amendments, supplements, or modifications thereto;
and to incur and to pay all such fees and expenses and to engage such persons as in their judgment
shall be necessary, appropriate, or advisable to effectuate the purpose and intent of any and all of
the foregoing resolutions; and it is

         FURTHER RESOLVED, that all instruments, agreements, certificates, consents,
waivers, or other documents heretofore executed and delivered (or caused to be executed and
delivered) and all acts lawfully done or actions lawfully taken by any officer or the Board in
connection with the bankruptcy case, including, without limitation, obtaining financing or
obtaining authorization to use cash collateral pursuant to a budget, or any further action to seek
relief on behalf of the Company under the Bankruptcy Code, or in connection with the bankruptcy
case, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed, and approved
in all respects as the acts and deeds of the Company; and it is

        FURTHER RESOLVED, that facsimile or photostatic copies of any signature to these
resolutions shall be deemed to be originals and may be relied on to the same extent as the originals.
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       IN WITNESS WHEREOF, the undersigned, constituting all of the members of the
Board hereby consent to and approve and adopt these resolutions as of the date set forth below
and direct that this Written Consent be filed with the minutes of the proceedings of the Board.


Signed this 19th day of April, 2021.



/s/ J. William Bowelsby                             /s/ Carolyn Morgan
J. William Bowelsby                                 Carolyn Morgan


/s/ Gloria Godson                                   /s/ Utma Taku
Gloria Godson                                       Utma Taku
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   Fill in this information to identify the case:

   Debtor name Connections Community Support Programs, Inc.

   United States Bankruptcy Court for the:                            District of Delaware

   Case number (If known):
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing



 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
 and Are Not Insiders                                                                    12/15

 A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
 largest unsecured claims.


  Name of creditor and complete mailing       Name, telephone number,        Nature of the claim    Indicate if     Amount of unsecured claim
  address, including zip code                 andemail address of            (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact               debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
  TD BANK, N.A.                              Phone: (302) 351-4560          PPP Loan                Contingent                                           $12,000,000.00
1 2035 LIMESTONE ROAD
  WILMINGTON, DE 19808


  WILMINGTON SAVINGS FUND                    Phone: (302) 504-9857          Bank Loan                               $8,931,385.41     Unknown            Unknown
2 SOCIETY, FSB
  500 DELAWARE AVENUE
  WILMINGTON, DE 19801

  BAYHEALTH MEDICAL CENTER                   Phone: (302) 674-4700          Trade Debts                                                                  $2,243,455.50
3 640 S. STATE STREET
  DOVER, DE 19901


  CHRISTIANA CARE HEALTH SERVICE             Phone: (302) 623-0151          Trade Debts                                                                  $1,990,314.87
4 200 HYGEIA DRIVE
  NEWARK, DE 19713


  GALLAGHER BASSETT SERVICES INC. Phone: (800) 588-0619                     Professional Services                                                        $533,403.30
5 2850 GOLF ROAD
  ROLLING MEADOWS, IL 60008


  VISTAPHARM, INC.                           Phone: (205) 981-1387          Trade Debts                                                                  $360,080.00
6 630 CENTRAL AVENUE
  NEW PROVIDENCE, NJ 07974


  WEINER BENEFITS GROUP                      Phone: (302) 658-0218          Trade Debts                                                                  $314,221.29
7 2961 CENTERVILLE ROAD, SUITE 300           Facsimile: (302) 998-4590
  WILMINGTON, DE 19808                       Email:
                                             info@weinerbenefitsgroup.com

  SYSCO EASTERN MARYLAND                     Phone: (410) 677-5799          Trade Debts                                                                  $294,010.92
8 33239 COSTEN ROAD
  POCOMOKE, MD 21851


  BAYSHORE FORD                              Phone: (302) 656-3160          Trade Debts                                                                  $293,097.25
9 4003 N. DUPONT HWY
  NEW CASTLE, DE 19720


 Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 1
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  Name of creditor and complete mailing    Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
  address, including zip code              andemail address of            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
  ARTHUR HALL INSURANCE                   Phone: (610) 696-2394         Trade Debts                                                                  $245,366.73
10 101 E CHESTNUT ST                      Facsimile: (610) 436-9675
  WEST CHESTER, PA 19380


  QUEST DIAGNOSTICS                       Phone: (800) 347-7741         Trade Debts                                                                  $203,353.69
11 500 PLAZA DRIVE
  SECAUCUS, NJ 07094


  MEDICAL ONCOLOGY HEMATOLOGY             Phone: (302) 366-1200         Trade Debts                                                                  $176,798.68
12 CO                                     Facsimile: (302) 366-1700
   4701 OGLETOWN STANTON ROAD
   STE 3400
   NEWARK, DE 19713-2055
   CARROLL PROPERTIES, LLC                Phone: (302) 322-9500          Trade Debts                                                                 $138,838.12
13 C/O EMORY HILL REAL ESTATE             Facsimile: (302) 322-9518
   SERVICES, INC.                         Email: emoryhill@emoryhill.com
   10 CORPORATE CIR #100
   NEW CASTLE, DE 19720
   QUALIFACTS                             Phone: (615) 386-6755         Trade Debts                                                                  $122,808.30
14 315 DEADERICK ST, SUITE 2300           Facsimile: (615) 386-1225
   NASHVILLE, TN 37238


  DRUMMOND PLAZA ASSOCIATES               Phone: (302) 633-9134         Trade Debts                                                                  $117,829.91
15 C/O FIN. & CONSULTING SVCS. INC.
  2126 W NEWPORT PIKE, STE 200
  WILMINGTON, DE 19804

  FIRST STATE SURGERY CENTER LLC          Phone: (302) 683-0700         Trade Debts                                                                  $115,366.18
16 1000 TWIN "C" LANE, SUITE 200
  NEWARK, DE 19713


  AMERICAN LEGION AMBULANCE               Phone: (302) 283-3300         Trade Debts                                                                  $92,496.80
17 71 OMEGA DRIVE, BLDG. D                Facsimile: (302) 283-3321
  NEWARK, DE 19713-2063                   Email: info@dmms.us


  NATIONAL EYE CARE                       Mark R. Maxon, O.D. CEO    Trade Debts                                                                     $91,190.62
18 2264 SARANAC AVENUE                    Email:
  LAKE PLACID, NY 12946                   mmaxon@nationaleyecare.com
                                          Phone: (518) 302-5578
                                          Facsimile: (518) 302-5588
  MEDLINE INDUSTRIES, INC.                Phone: (800) 388-2147      Trade Debts                                                                     $82,091.45
19 1 THREE LAKES DR.                      Facsimile: (847) 837-2765
  NORTHFIELD, IL 60093                    Email: finance@medline.com


  VERIZON WIRELESS                        Phone: (212) 395-1000         Trade Debts                                                                  $79,717.98
20 1095 AVENUE OF THE AMERICAS
  NEW YORK, NY 10036


  WHISMAN, GIORDANO & ASSOCS, LLC Phone: (302) 266-0202                 Professional Services                                                        $72,836.00
21 111 CONTINENTAL DRIVE #210     Facsimile: (302) 266-7070
  NEWARK, DE 19713


  PRE HOLDING II, LLC                                                   Trade Debts                                                                  $72,832.62
22 1504 N. BROOM STREET, SUITE 3
  WILMINGTON, DE 19806




 Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 2
                            Case 21-10723-MFW                   Doc 1      Filed 04/19/21             Page 12 of 13

                                                                                          Case number (if known)
 Debtor       Connections Community Support Programs, Inc.
              Name




  Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if     Amount of unsecured claim
  mailing address, including zip code    email address of creditor      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                         contact                        debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                        professional          unliquidated,   total claim amount and deduction for value of
                                                                        services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff

   MCKESSON MEDICAL SURGICAL Phone: (855) 571-2100                     Trade Debts                                                                 $71,408.56
23 9954 MAYLAND DRIVE, SUITE 4000
   RICHMOND, VA 23233


   BEEBE MEDICAL GROUP                  Phone: (302) 645-3300          Trade Debts                                                                 $70,035.34
24 424 SAVANNAH RD
   LEWES, DE 19958


   ELMS HOLDING COMPANY, LLC                                           Trade Debts                                                                 $68,045.92
25 1504 NORTH BROOM STREET
   SUITE 3
   WILMINGTON, DE 19806

   BAYHEALTH MEDICAL GROUP              Phone: (302) 674-4700          Trade Debts                                                                 $67,697.25
26 640 SOUTH STATE STREET
   DOVER, DE 19901


   INFINITY SEARCH GROUP                Phone: (610) 325-9461          Trade Debts                                                                 $66,016.67
27 761 W. SPROUL ROAD #103              Facsimile: (610) 325-0220
   SPRINGFIELD, PA 19064                Email: info@infinitysg.com


   DEL LAWN LLC                         Phone: (302) 475-1184          Trade Debts                                                                 $65,044.00
28 207 JACKSON BLVD
   WILMINGTON, DE 19803


   MOBILEXUSA                                                          Trade Debts                                                                 $63,605.22
29 930 RIDGEBROOK ROAD
   SPARKS GLENCOE, MD 21152


   ITDATA INC,                          Phone: (800) 883-5413          Trade Debts                                                                 $60,600.00
30 8 PENN CENTER
   1628 J.F.K BLVD STE 2110
   PHILADELPHIA, PA 19103




 Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 3
                                   Case 21-10723-MFW                            Doc 1        Filed 04/19/21            Page 13 of 13




 Fill in this information to identify the case:

 Debtor name         Connections Community Support Programs, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 19, 2021                          X       /s/ Robert D. Katz
                                                                         Signature of individual signing on behalf of debtor

                                                                         Robert D. Katz
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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